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                                                 UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN DISTRICT OF TEXAS
                                                         HOUSTON DIVISION
  IN RE: George Lionel Moncada                                                              CASE NO       19-33426

                                                                                            CHAPTER       7
                                                                AMENDED 8/23/2019
                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                         Changed to Federal Expemptions
Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                   Scheme Selected: Federal
                                                                Gross             Total           Total         Total Amount   Total Amount
No.     Category                                        Property Value    Encumbrances           Equity               Exempt    Non-Exempt


1.      Real property                                          $0.00                $0.00         $0.00               $0.00          $0.00

3.      Motor vehicles (cars, etc.)                        $2,510.00           $17,105.00     $2,510.00           $2,510.00          $0.00

4.      Water/Aircraft, Motor Homes,                           $0.00                $0.00         $0.00               $0.00          $0.00
        Rec. veh. and access.

6.      Household goods and furnishings                   $17,100.00                $0.00    $17,100.00          $17,100.00          $0.00

7.      Electronics                                        $2,725.00                $0.00     $2,725.00           $2,725.00          $0.00

8.      Collectibles of value                                  $0.00                $0.00         $0.00               $0.00          $0.00

9.      Equipment for sports and hobbies                       $0.00                $0.00         $0.00               $0.00          $0.00

10.     Firearms                                               $0.00                $0.00         $0.00               $0.00          $0.00

11.     Clothes                                            $1,000.00                $0.00     $1,000.00           $1,000.00          $0.00

12.     Jewelry                                            $5,000.00                $0.00     $5,000.00           $5,000.00          $0.00

13.     Non-farm animals                                       $0.00                $0.00         $0.00               $0.00          $0.00

14.     Unlisted pers. and household items-                    $0.00                $0.00         $0.00               $0.00          $0.00
        incl. health aids

16.     Cash                                                   $0.00                $0.00         $0.00               $0.00          $0.00

17.     Deposits of money                                  $1,892.82                $0.00     $1,892.82           $1,892.82          $0.00

18.     Bonds, mutual funds or publicly                        $0.00                $0.00        $0.00                $0.00          $0.00
        traded stocks

19.     Non-pub. traded stock and int.                         $0.00                $0.00         $0.00               $0.00          $0.00
        in businesses

20.     Govt. and corp. bonds and other                        $0.00                $0.00         $0.00               $0.00          $0.00
        instruments

21.     Retirement or pension accounts                     $2,226.00                $0.00     $2,226.00           $2,226.00          $0.00

22.     Security deposits and prepayments                      $0.00                $0.00         $0.00               $0.00          $0.00

23.     Annuities                                              $0.00                $0.00         $0.00               $0.00          $0.00

24.     Interests in an education IRA                          $0.00                $0.00        $0.00                $0.00          $0.00

25.     Trusts, equit. or future int. (not in line 1)    $205,000.00          $183,666.00    $21,334.00          $21,334.00          $0.00

26.     Patents, copyrights, and other                         $0.00                $0.00         $0.00               $0.00          $0.00
        intellectual prop.
27.     Licenses, franchises, other                            $0.00                $0.00        $0.00                $0.00          $0.00
        general intangibles

28.     Tax refunds owed to you                                $0.00                $0.00        $0.00                $0.00          $0.00
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                                             UNITED STATES BANKRUPTCY COURT
                                                SOUTHERN DISTRICT OF TEXAS
                                                     HOUSTON DIVISION
  IN RE: George Lionel Moncada                                                              CASE NO       19-33426

                                                                                            CHAPTER       7
                                                            AMENDED 8/23/2019
                           SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                              Continuation Sheet # 1
Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                   Scheme Selected: Federal
                                                           Gross                  Total           Total         Total Amount   Total Amount
No.     Category                                   Property Value         Encumbrances           Equity               Exempt    Non-Exempt


29.     Family support                                     $0.00                    $0.00         $0.00               $0.00          $0.00

30.     Other amounts someone owes you                $60,000.00                    $0.00    $60,000.00               $0.00     $60,000.00

31.     Interests in insurance policies                    $0.00                    $0.00         $0.00               $0.00          $0.00

32.     Any int. in prop. due you from                     $0.00                    $0.00         $0.00               $0.00          $0.00
        someone who has died

33.     Claims vs. third parties, even                     $0.00                    $0.00         $0.00               $0.00          $0.00
        if no demand

34.     Other contin. and unliq. claims                    $0.00                    $0.00         $0.00               $0.00          $0.00
        of every nature

35.     Any financial assets you did                       $0.00                    $0.00         $0.00               $0.00          $0.00
        not already list

38.     Accounts rec. or commissions you                   $0.00                    $0.00         $0.00               $0.00          $0.00
        already earned

39.     Office equipment, furnishings,                     $0.00                    $0.00         $0.00               $0.00          $0.00
        and supplies

40.     Mach., fixt., equip., bus. suppl.,           $430,000.00              $689,565.51         $0.00               $0.00          $0.00
        tools of trade

41.     Inventory                                           $0.00                   $0.00         $0.00               $0.00          $0.00

42.     Interests in partnerships or                        $0.00                   $0.00         $0.00               $0.00          $0.00
        joint ventures

43.     Customer and mailing lists, or                     $0.00                    $0.00         $0.00               $0.00          $0.00
        other compilations

44.     Any business-related property not                  $0.00                    $0.00         $0.00               $0.00          $0.00
        already listed

47.     Farm animals                                       $0.00                    $0.00         $0.00               $0.00          $0.00

48.     Crops--either growing or harvested                 $0.00                    $0.00         $0.00               $0.00          $0.00

49.     Farm/fishing equip., impl., mach.,                 $0.00                    $0.00         $0.00               $0.00          $0.00
        fixt., tools

50.     Farm and fishing supplies, chemicals,              $0.00                    $0.00         $0.00               $0.00          $0.00
        and feed

51.     Farm/commercial fishing-related prop.              $0.00                    $0.00         $0.00               $0.00          $0.00
        not listed

53.     Any other property of any kind not                  $0.00                   $0.00         $0.00               $0.00          $0.00
        already listed


                    TOTALS:                          $727,453.82              $890,336.51   $113,787.82          $53,787.82     $60,000.00
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                                             UNITED STATES BANKRUPTCY COURT
                                                SOUTHERN DISTRICT OF TEXAS
                                                     HOUSTON DIVISION
  IN RE: George Lionel Moncada                                                                CASE NO        19-33426

                                                                                             CHAPTER         7
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                           SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                                Continuation Sheet # 2




Surrendered Property:
The following property is to be surrendered by the debtor. Although this property is NOT exempt, it is NOT considered "non-exempt" for purposes
of this analysis. The below listed items are to be returned to the lienholder.

  Property Description                                                                   Market Value                      Lien               Equity

Real Property
(None)
Personal Property
(None)


                   TOTALS:                                                                        $0.00                    $0.00                  $0.00


Non-Exempt Property by Item:
The following property, or a portion thereof, is non-exempt.

  Property Description                                                  Market Value             Lien             Equity       Non-Exempt Amount

Real Property
(None)
Personal Property

Money owed to Debtor individually and as Managing Partner of               $12,500.00                        $12,500.00                  $12,500.00

Money owed to Debtor individually and as Managing Partner of               $12,000.00                        $12,000.00                  $12,000.00

Money owed to Debtor individually and as Managing Partner of               $11,500.00                        $11,500.00                  $11,500.00

Money owed to Debtor individually and as Managing Partner of               $12,000.00                        $12,000.00                  $12,000.00

Money owed to Debtor individually and as Managing Partner of               $12,000.00                        $12,000.00                  $12,000.00


                   TOTALS:                                                  $60,000.00          $0.00         $60,000.00                 $60,000.00
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                                       UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF TEXAS
                                               HOUSTON DIVISION
IN RE: George Lionel Moncada                                                              CASE NO       19-33426

                                                                                          CHAPTER       7
                                                        AMENDED 8/23/2019
                      SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                          Continuation Sheet # 3




                                                           Summary
       A. Gross Property Value (not including surrendered property)                                          $727,453.82

       B. Gross Property Value of Surrendered Property                                                             $0.00

       C. Total Gross Property Value (A+B)                                                                   $727,453.82

       D. Gross Amount of Encumbrances (not including surrendered property)                                  $890,336.51

       E. Gross Amount of Encumbrances on Surrendered Property                                                     $0.00

       F. Total Gross Encumbrances (D+E)                                                                     $890,336.51

       G. Total Equity (not including surrendered property) / (A-D)                                          $113,787.82

       H. Total Equity in surrendered items (B-E)                                                                  $0.00

       I. Total Equity (C-F)                                                                                 $113,787.82

       J. Total Exemptions Claimed                  (Wild Card Used: $8,281.76, Available: $5,618.24)         $53,787.82

       K. Total Non-Exempt Property Remaining (G-J)                                                          $60,000.00
